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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK

 In re Terrorist Attacks on September 11, 2001        As relates to: 03-MDL-1570 (GBD)(SN)

 KATHERINE MAHER, as Personal                         CIVIL DOCKET NO.: 1-18-cv-11909
 Representative of the ESTATE OF DANIEL L.
 MAHER, Deceased,                                     {PROPOSED}
                                                      SHORT FORM COMPLAINT
 KATHERINE MAHER, the surviving Spouse of
                                                      AND DEMAND FOR TRIAL BY JURY
 Daniel L. Maher,

 PATRICIA RYAN, as Personal Representative of the CASE NO: ________________
 ESTATE OF JOHN J. RYAN, Deceased,

 PATRICIA RYAN, the surviving Spouse of John J.
 Ryan,

 KRISTEN BREITWEISER, as Personal
 Representative of the ESTATE OF RONALD
 BREITWEISER, Deceased,

 KRISTEN BREITWEISER, the surviving Spouse of
 Ronald Breitweiser,

                 and

 CAROLINE BREITWEISER, a surviving Child of
 Ronald Breitweiser,


                                        Plaintiffs,

                        v.

 REPUBLIC OF THE SUDAN
 c/o Asma Mohamed Abdalla
 Minister of Foreign Affairs
 Khartoum, Sudan,

                                       Defendant.




      The Maher Plaintiffs file this Ashton Short Form Sudan Complaint against Defendant

Republic of the Sudan (“Sudan”) by and through undersigned counsel. The Maher Plaintiffs
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incorporate by reference the specific allegations, as indicated below, of the Ashton Plaintiffs’

Consolidated Master Complaint against the Republic of the Sudan, 1:02-cv-06977 (GBD)(SN),

Doc. No. 11 in the United States District Court for the Southern District of New York, consolidated

with 03 MDL 1570 (“the Ashton Sudan Complaint”). The Ashton Sudan Complaint, which

included the Maher Plaintiffs named herein, was served on Sudan in Khartoum, Sudan via

diplomatic means on April 29, 2003. The Clerk of Court issued a Certificate of Default against

Sudan on December 22, 2011.

                                               VENUE

       1.      Venue in this district is proper pursuant to 28 U.S.C. §§ 1391(b)(2) and 1391(f)(1),

as a substantial part of the events giving rise to the claims asserted herein occurred in this district.

Venue is also proper in this district pursuant to 18 U.S.C. § 2334(a).

                                          JURISDICTION

       2.      Jurisdiction, as asserted in the Ashton Sudan Complaint, is premised upon 28 U.S.C.

§ 1605(a)(5) (non-commercial tort exception); 28 U.S. C. § 1605(a)(7) (anti-terrorism exception);

28 U.S.C. § 1330 (actions against foreign states).

                                         CAUSES OF ACTION

       3.      The Maher Plaintiffs hereby adopt and incorporate by reference the Ashton

Plaintiffs’ Consolidated Master Complaint against the Republic of the Sudan, 1:02-cv-06977

(GBD)(SN), Doc. No. 11 (“Ashton Sudan Complaint”) as if set forth fully herein.

       4.      The following claims and allegations are asserted by the Maher Plaintiffs and are

herein adopted by reference from the Ashton Sudan Complaint:

                  Count One – Wrongful Death Intentional Murder

                  Count Two – Survival Damages Based on Intentional Murder


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                  Count Three – Assault and Battery

                  Count Four – Violation of Anti-Terrorism Act, 18 U.S.C. §
                   2333

                  Count Six – Anti-Terrorism and Effective Death Penalty Act
                   Claim, 28 U.S.C. § 1605(a)(7)

                  Count Seven – Punitive Damages


                             IDENTIFICATION OF PLAINTIFFS
       5.      The following allegations and information are alleged as to each Plaintiffs, as

indicated on Appendix 1 to this Ashton Short Form Sudan Complaint, who is bringing these claims.

As to each decedent who was injured and who is now deceased, such claims are brought by the

Estate representative, and/or for the survivors of the decedent’s Estate. Collectively, these

individuals are referred to herein as “Plaintiffs.”

               a. The citizenship/nationality of Plaintiff is as stated in Appendix 1 to this
                  Ashton Short Form Sudan Complaint.

               b. Plaintiff is entitled to recover damages on the causes of action listed this
                  Ashton Short Form Sudan Complaint and as described in the Ashton Sudan
                  Complaint.

               c. As indicated at Appendix 1, each Plaintiff is (i) the estate representative of
                  someone who was killed as a result of the September 11, 2001 Terrorist
                  Attacks; or (ii) a surviving immediate family member of someone who was
                  killed as a result of the September 11, 2001 Terrorist Attacks.

               d. For those plaintiffs with wrongful death claims, as indicated in Appendix 1,
                  as a direct, proximate and foreseeable result of Defendant’s actions or
                  inactions, Plaintiff or his or her decedent suffered bodily injury and/or death,
                  and consequently economic and other losses, including but not limited to
                  pain and suffering, emotional distress, psychological injuries, and loss of
                  enjoyment of life, and/or as described in the Ashton Sudan Complaint,
                  and/or as otherwise may be specified in subsequent discovery proceedings,
                  and/or as otherwise alleged in Appendix 1.




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               e. For those plaintiffs with wrongful death claims, as indicated in Appendix 1,
                  as a direct, proximate and foreseeable result of Defendant’s actions or
                  inactions, Plaintiff’s decedent suffered bodily injury and death, and
                  consequently economic and other losses, including but not limited to pain
                  and suffering, emotional distress, psychological injuries, and loss of
                  enjoyment of life, and/or as described in the Ashton Sudan Complaint,
                  and/or as otherwise may be specified in subsequent discovery proceedings,
                  and/or as otherwise alleged in Appendix 1.

               f. The name, relationship to the injured and/or deceased September 11, 2001
                  victim, residency, citizenship/nationality, and the general nature of the
                  claim for each plaintiff asserting wrongful death claims are listed on the
                  attached Appendix 1, and are incorporated herein as allegations, with all
                  allegations of the Ashton Short Form Sudan Complaint deemed alleged as
                  to each Plaintiff.

                             IDENTIFICATION OF DEFENDANT

        6.      The following is a Defendant herein: The Republic of Sudan.

         This Maher Short Form Sudan Complaint shall be deemed subject to any motion to

 dismiss the Ashton Sudan Complaint or any other filings responsive to the Ashton Sudan

 Complaint.

                             NO WAIVER OF OTHER CLAIMS

        7.      By filing this Ashton Sudan Complaint, the Maher Plaintiffs are not waiving any

right to file suit against any other potential defendants or parties.

        8.      By filing this Ashton Short Form Sudan Complaint, the Maher Plaintiffs are not

opting out of any class that the Court may certify in the future.

        WHEREFORE, the Maher Plaintiffs pray for relief and judgment against Defendant

Republic of Sudan as set forth in the Ashton Sudan Complaint as appropriate.




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                                     JURY DEMAND

      Plaintiffs hereby demand a trial by jury as to the claims in this action.

Date: August 3, 2020                        Respectfully Submitted,

                                            ___/s/ Dennis G. Pantazis_____________________
                                            Dennis G. Pantazis (AL Bar No. ASB-2216-A59D)
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                                            Attorneys for the Maher Plaintiffs



                                  See Appendix 1 Annexed




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